           Case 8:22-bk-10948-SC Doc 44 Filed 06/12/22                                               Entered 06/12/22 21:15:42                        Desc
                               Imaged Certificate of Notice                                          Page 1 of 8
                                                                 United States Bankruptcy Court
                                                                  Central District of California
In re:                                                                                                                    Case No. 22-10948-SC
TRX Holdco, LLC                                                                                                           Chapter 11
       Debtor
                                                       CERTIFICATE OF NOTICE
District/off: 0973-8                                                     User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 10, 2022                                                  Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                   Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                    regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 12, 2022:
Recip ID                   Recipient Name and Address
db                       + TRX Holdco, LLC, 450 Newport Center Drive, Suite 590, Newport Beach, CA 92660-7648

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                         BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                        NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 12, 2022                                              Signature:            /s/Gustava Winters




                                     CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 10, 2022 at the address(es) listed below:
Name                                 Email Address
Christopher O Rivas
                                     on behalf of Creditor Woodforest National Bank crivas@reedsmith.com chris-rivas-8658@ecf.pacerpro.com

Jonathan Gottlieb
                                     on behalf of Debtor TRX Holdco LLC jdg@lnbyg.com

Krikor J Meshefejian
                                     on behalf of Debtor Fitness Anywhere LLC kjm@lnbyg.com

Krikor J Meshefejian
                                     on behalf of Debtor TRX Holdco LLC kjm@lnbyg.com

Lindsey L Smith
                                     on behalf of Debtor TRX Holdco LLC lls@lnbyg.com, lls@ecf.inforuptcy.com

Lindsey L Smith
                                     on behalf of Debtor Fitness Anywhere LLC lls@lnbyg.com lls@ecf.inforuptcy.com
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District/off: 0973-8                                          User: admin                                                     Page 2 of 2
Date Rcvd: Jun 10, 2022                                       Form ID: pdf042                                                Total Noticed: 1
Marsha A Houston
                             on behalf of Creditor Woodforest National Bank mhouston@reedsmith.com hvalencia@reedsmith.com

Michael J Hauser
                             on behalf of U.S. Trustee United States Trustee (SA) michael.hauser@usdoj.gov

Ron Bender
                             on behalf of Debtor Fitness Anywhere LLC rb@lnbyb.com

Ron Bender
                             on behalf of Debtor TRX Holdco LLC rb@lnbyb.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 11
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1     RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
2     LINDSEY L. SMITH (SBN 265401)                        FILED & ENTERED
3     LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
4     Los Angeles, California 90034                             JUN 10 2022
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
5     Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM     CLERK U.S. BANKRUPTCY COURT
                                                                          Central District of California
                                                                          BY mccall DEPUTY CLERK
6     Proposed Attorneys for Chapter 11 Debtors
7     and Debtors in Possession

8                               UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
9                                      SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13             Debtor and Debtor in Possession.        Chapter 11 Cases
      ____________________________________
14
14    In re:                                           ORDER GRANTING, ON AN
                                                       INTERIM      BASIS,    '(%7256¶
15
15    FITNESS ANYWHERE LLC, a Delaware                 EMERGENCY MOTION FOR ENTRY
16    limited liability company, dba TRX and TRX       OF AN ORDER AUTHORIZING THE
16
      Training,                                        DEBTORS       TO    USE    CASH
17
17                                                     COLLATERAL PURSUANT TO 11
               Debtor and Debtor in Possession.        U.S.C. §§ 361, 362 AND 363 AND
18
18    ____________________________________             GRANTING              ADEQUATE
                                                       PROTECTION       AND    RELATED
19
19                                                     RELIEF
20       Affects both Debtors
20
                                                       DATE:      June 10, 2022
21
21      Affects TRX Holdco, LLC only                   TIME:      10:00 a.m.
                                                       PLACE:     *Via ZoomGov
22
22       Affects Fitness Anywhere, LLC only                       Courtroom 5C
                                                                  411 West Fourth Street
23
23                                                                Santa Ana, CA 92701
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1             On June 10, 2022, at 10:00 a.m. (Pacific Time) WKH³Interim Hearing´ , a hearing was

2     held for the Court to consider approval of the motioQ ³Motion´  'RF 7), filed by TRX Holdco,
3     LLC ³Hold Co´ DQG)LWQHVV$Q\ZKHUH//&GED75;DQG75;7UDLQLQJ ³Product Co´DQG,
4     together with Hold Co, WKH ³Debtors´  WKH GHEWRUV DQG GHEWRUV-in-possession in the above-
5     captioned, jointly-administered, Chapter 11 bankruptcy cases, for the entry of an interim order:
6             (1)     authorizing WKH 'HEWRUV¶ to use cash collateral, as such term is defined in 11
7     U.S.C. § 363(a): (a) to pay quarterly fees to the United States Trustee and any required court
8     costs; (b) to pay, in the ordinary course of business, certain of the expenses set forth in the

9     'HEWRUV¶ respective thirteen (13) week cash flow forecasts and cash collateral budgets setting
10
10    forth all projected cash receipts and cash disbursements and the projected impacts on accounts
11
11    receivables and inventory following the Petition Date (HDFK D ³Budget´ DQG WRJHWKHU the
12
12    ³Budgets´ attached as Exhibits 2, 3 and 4 to the Declaration of James S. Feltman (Doc 9) filed
13
13    in support of the Motion; (c) to purchase inventory as needed to ensure that the Debtors do not
14
14    suffer immediate and irreparable harm; and (d) in accordance with the terms and conditions set
15
15    forth in the Motion;
16
16            (2)     granting adequate protection to :RRGIRUHVW 1DWLRQDO %DQN WKH ³Bank´  RQ
17
17    DFFRXQWRIWKH%DQN¶Vinterest LQWKH'HEWRUV¶cash collateral, on account of WKH'HEWRUV¶XVHRI
18
18    cash collateral as defined in 11 U.S.C. § 363(a), in the form of (a) a replacement lien against the
19
19    'HEWRUV¶ SRVW-petition assets (excluding any avoidance causes of action), to the extent of any
20
20    post-petition diminution in the value of WKH %DQN¶V FROODWHUDO DV D UHVXOW RI WKH 'HEWRUV¶ post-
21
21    petition use of cash collateral; and (b) a super priority administrative claim pursuant to Section
22
22    507(b) of the Bankruptcy Code to the extent of any post-petition diminution in the value of the
23
23    %DQN¶V prepetition collateral as a result of the 'HEWRUV¶post-petition use of cash collateral;
24
24            (3)     WKHVFKHGXOLQJRIDILQDOKHDULQJ WKH³Final Hearing´ RQWKH0RWLRQWRFRQVLGHU
25
25    entry of a final order granting the relief requested in the Motion on a final basis; and
26
26            (4)     waiver of any applicable stay (including under Bankruptcy Rule 6004) and
27
27    provision for immediate effectiveness of this Interim Order.
28
28            $SSHDUDQFHVZHUHDVVWDWHGRQWKH&RXUW¶VUHFRUG


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1            The Court, having read and considered the Motion, the Feltman Declaration, the

2     Declaration of Brent Leffel (Doc 8) filed in support of the Motion, the Declaration of Krikor J.
3     Meshefejian filed in support of the Motion (Doc 10), the Declaration of Joshua Benn filed in
4     support of the Motion (Doc 12), and all other pleadings and papers filed in support of the
5     Motion; the limited objection filed by the Bank (Doc 28); notice of the Interim Hearing on the
6     Motion having been given in accordance with all applicable rules; and the Interim Hearing
7     having been held and concluded; and all objections, if any, to the interim relief requested in the
8     Motion having been withdrawn, resolved or overruled by the Court; and it appearing that

9     approval of the interim relief requested in the Motion is necessary to avoid immediate and
10
10    LUUHSDUDEOHKDUPWRWKH'HEWRUV¶EDQNUXSWF\HVWDWHVSHQGLQJWKH)LQDO+HDULQJDQGRWKHUZLVHLV
11
11    fair and reasonable and in the best interests RIWKH'HEWRUV¶EDQNUXSWF\HVWDWHVDQGLVHVVHQWLDOIRU
12
12    WKH'HEWRUV¶DELOLW\WRFRQWLQXHWRRperate and preserve the value of their respective assets; and
13
13    after due deliberation and consideration, and good and sufficient cause appearing, hereby orders
14
14    as follows:
15
15           1.      The Motion is granted on an interim basis IRUWKHSHULRGVHWIRUWKLQWKH'HEWRUV¶
16
16    Budgets through June 30, 2022.
17
17           2.      The Debtors are authorized to use their cash collateral on an interim basis in order
18
18    to: (a) pay quarterly fees to the United States Trustee and any required Court costs; (b) pay, in
19
19    the ordinary course of business, the expenseVVHWIRUWKLQWKH'HEWRUV¶%XGJHWV through June 30,
20
20    2022; and (c) pay up to $300,000 for the purchase of new inventory. The Debtors may not pay
21
21    any professional fees or expenses absent a further order of the Court. Notwithstanding the
22
22    foregoing, the Debtors may only pay the major expenses provided for during the fourth week of
23
23    the Budgets (i.e., the week starting with June 27, 2022) with the prior written approval of the
24
24    Bank or further order of the Court.
25
25           3.      Subject to the last sentence of this paragraph, the Debtors are authorized to
26
26    deviate from the Budgets, without the need for any further Court order, by up to 15% by line
27
27    item and 15% in the aggregate (meaning the Debtors have the authority to deviate by more than
28
28    15% per any particular line items proviGHGWKH\GRQ¶WH[FHHGLQWKHDJJUHJDWH without the


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1     need for any further Court order, and the Debtors are authorized to deviate further from the

2     Budgets without the need for any further Court order provided the Debtors obtain the prior
3     written consent of the Bank, provided further that the Debtors shall provide the Bank with no
4     OHVVWKDQILYH  EXVLQHVVGD\V¶QRWLFHRIDQ\UHTXHVWIRUDGGLWLRQDOYDULDQFH In the event of an
5     unforeseen urgency which requires shorter notice than provided herein, the Debtors shall provide
6     such shorter notice to the Bank with a requested turnaround time and a brief explanation of the
7     nature of the unforeseen urgency, and both parties shall work together in good faith to address
8     such issues. In addition to the foregoing deviations, the Debtors have the authority to increase

9     their budgeted expense amounts to pay for any proportional increase in post-petition
10
10    commissions owing as a result of any increase in sales beyond the projected sales amounts, e.g.,
11
11    AMZN commissions (meaning the more the Debtors sell the higher their commissions will be).
12
12    Notwithstanding the foregoing, the Debtors may not spend more than $300,000 for the purchase
13
13    of new inventory during the period covered by this Interim Order without the prior consent of the
14
14    Bank or order of the Court.
15
15           4.      The Debtors will continue to provide the Bank with financial reporting on not less
16
16    than a weekly basis in the same format as the Debtors were providing the Bank pre-petition, and
17
17    the Debtors and the Bank will work in good IDLWKLQDQHIIRUWWRDFFRPPRGDWHWKH%DQN¶VUHTXHVW
18
18    for any additional or different financial reporting. By Wednesday of each week, the Debtors will
19
19    SURYLGHWKH%DQNZLWKDYDULDQFHUHSRUWWKDWFRPSDUHVWKH'HEWRUV¶ILQDQFLDOSHUIRUPDQFHIRUWKH
20
20    prior wHHNFRPSDUHGWRWKH'HEWRUV¶SURMHFWHGSHUIRUPDQFHIRUWKHSULRUZHHN The reporting
21
21    format for the variance reports will be the in the same format as summarized in the Budgets.
22
22           5.      The Bank is hereby granted, RQ DFFRXQW RI WKH %DQN¶V LQWHUHVW LQ WKH 'HEWRUV¶
23
23    FDVK FROODWHUDO RQ DFFRXQW RI WKH 'HEWRUV¶ post-petition use of cash collateral, adequate
24
24    protection LQ WKH IRUP RI D  D UHSODFHPHQW OLHQ DJDLQVW WKH 'HEWRUV¶ SRVW-petition assets
25
25    (excluding any avoidance causes of action), to the extent of any post-petition diminution in the
26
26    YDOXHRIWKH%DQN¶VFROODWHUDODVDUHVXOWRIWKH'HEWRUV¶post-petition use of cash collateral; and
27
27    (b) a super priority administrative claim pursuant to Section 507(b) of the Bankruptcy Code to
28
28    the extent of any post-petition dimLQXWLRQLQWKHYDOXHRIWKH%DQN¶VSUHSHWLWLRQFROODWHUDODVD


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1     result of the 'HEWRUV¶post-petition use of cash collateral. All replacement liens granted herein

2     are valid, enforceable and fully perfected, and no filing or recordation or any other act in
3     accordance with any applicable local, state, or federal law is necessary to create or perfect such
4     lien and security interest; provided, however, that upon request of the Bank, the Debtors shall
5     execute such security and perfection documentation as may be reasonably required to create or
6     perfect such liens under applicable non-bankruptcy law. For the avoidance of doubt, the Bank
7     shall not be required to seek relief from the automatic stay to create or perfect such liens.
8            6.      Nothing herein shall constitute a waiver, release or modification of the rights of

9     the Bank to assert a claim under §§ 364(c) or 507(b).
10
10           7.      This Order shall be binding on the Debtors under all circumstances and shall be
11
11    binding upon all other parties in interest, including any chapter 7 or chapter 11 trustee that may
12
12    EHDSSRLQWHGRUHOHFWHGRQEHKDOIRIWKH'HEWRUV¶HVWDWHs.
13
13           8.      Nothing contained in this Interim Order shall be deemed or construed to waive,
14
14    reduce or otherwise diminish the rights of the Bank or the Debtors under the Loan Documents
15
15    (subject to applicable bankruptcy law and the imposition of the automatic stay), or the
16
16    Bankruptcy Code, and nothing contained in this Interim Order shall be deemed or construed to
17
17    waive, reduce or otherwise diminish the rights of the Bank to seek additional or different
18
18    adequate protection of its interests under the Loan Documents, to take any other action in this
19
19    bankruptcy case, including, but not limited to, seeking relief from the automatic stay or dismissal
20
20    or conversion of this case at any time, all without prejudice to the rights of the Debtors or any
21
21    other party in interest to oppose any such relief sought or requested by the Bank.
22
22           9.      A Final Hearing on the Motion shall be held on June 30, 2022, at 10:00 a.m.
23
23           10.     The Debtors shall provide notice of the Final Hearing on all creditors entitled to
24
24    such notice by no later than June 10, 2022.
25
25           11.     The Debtors shall file any desired supplement to the Motion, including any
26
26    proposed modifications to the Budgets, by no later than June 15, 2022.
27
27           12.     Any opposition to entry of an order granting the Motion on a final basis shall be
28
28    filed and served on proposed counsel to the Debtors by no later than June 28, 2022.


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1            13.     Any reply to an opposition may be asserted orally at the Final Hearing.

2            14.     This Interim Order shall be immediately effective and enforceable upon its entry
3     and there shall be no stay of execution or effectiveness of this Interim Order.
4            15.     This Interim Order is without prejudice to the rights of the Debtors to seek further
5     or different use of cash collateral prior to the Final Hearing, and is without prejudice to the rights
6     of any other party in interest, including the Bank, to oppose any such request of the Debtors.
7                                                     ###
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24          Date: June 10, 2022

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